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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


  IN RE TURKEY ANTITRUST LITGATION
                                          Civil Action No. 19-cv-08318
          This Document Relates:
                                          Hon. Sunil R. Harjani
     Direct Purchaser Plaintiff Actions   Hon. Keri L. Holleb Hotaling


DIRECT PURCHASER PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION
  FOR PRELIMINARY APPROVAL OF SETTLEMENT WITH CARGILL AND
         APPROVAL OF A CLAIMS PROCESS AND NOTICE PLAN
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I.       INTRODUCTION.

         Direct Purchaser Plaintiffs (“DPPs”) have reached a proposed settlement of their claims

with Cargill, Incorporated and Cargill Meat Solutions Corporation (collectively “Cargill”) (herein

after “Cargill Settlement” or “Settlement Agreement”).1 The Settlement Agreement provides

$32,500,000 (thirty-two million, five hundred thousand U.S. dollars) in monetary relief to the

Settlement Class (as defined in Section IV) infra). This brings the total monetary recovery on

behalf of the DPP Class to $37,125,000, as Plaintiffs settled with Tyson in 2021 for $4,625,000.

(See Declaration of B. Clark in Support of this Motion) (“Clark Decl.) at ¶ 10.) In addition to

monetary relief, Cargill has agreed to provide meaningful cooperation, which may assist DPPs in

the prosecution of their claims against the non-settling Defendants. In this Motion, DPPs seek

preliminary approval of the Cargill Settlement Agreement, certification of a Settlement Class, and

approval of a plan of notice to the Settlement Class regarding the settlement.

         Additionally, given the total amount of the settlements reached to date ($37,125,000),

DPPs seek the Court’s permission to give notice of a claims process to permit for the distribution

of these funds. To facilitate distribution, in addition to the proposed notices, DPPs also propose

to send class members individualized, pre-populated claim forms, and information regarding how

class members may obtain their pro rata portion of the Cargill and Tyson settlements. That same

notice would also advise Settlement Class members that DPPs are seeking interim payment of

attorneys’ fees, current and ongoing expenses, and service awards in connection with the

distribution of the funds.

         DPPs therefore move the Court for an order approving the following next steps. First, to



     1
      The Long-Form Settlement Agreement is attached here to as Exhibit A to the Declaration of
Brian D. Clark (“Clark Decl.”). The capitalized terms in this memorandum are defined in the
Settlement Agreement.

                                                 1
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preliminarily approve the Cargill Settlement and certify the proposed Settlement Class. Second, to

appoint Lockridge Grindal Nauen PLLP and Hagens Berman Sobol Shapiro LLP as Co-Lead

Counsel for the Settlement Class. Third, to direct notice to the direct purchaser class regarding the

Cargill settlement agreement and provide Settlement Class members information on how they can

submit a claim for their pro rata portion of the total settlements reached to date. Fourth, to appoint

the necessary administrators to effectuate notice and claims distribution, including appointing A.B.

Data Ltd. as the Notice and Claims Administrator for the Settlement Agreement and The

Huntington Bank as the escrow agent to provide escrow services. Finally, DPPs request that this

Court schedule a Fairness Hearing for the Settlement Agreement.

       At the Fairness Hearing, DPPs will request entry of a final order and judgment (“Final

Order”) consistent with the Cargill Settlement Agreement and this Motion, including dismissing

with prejudice all claims against Cargill, granting Interim Co-Lead Counsel’s request for interim

payment of attorneys’ fees, current and ongoing expenses, and service awards; and retaining

jurisdiction for the implementation and enforcement of the Settlement Agreement.

II.    LITIGATION BACKGROUND.

       This Court is very familiar with the facts and procedural history of this case, and DPPs will

not repeat it here. See, e.g., ECF No. 830 (DPPs’ motion for class certification). The Settlement

Agreement is the second DPP settlement in this case. This Court granted final approval to DPPs’

“icebreaker” settlement with the Tyson Defendants on February 3, 2022 (“Tyson Settlement”).

(See Amended Order and Final Judgment ECF No. 406.) Tyson’s market share of the Turkey

market (as defined in the Settlement Class) is roughly 4-5% and Cargill’s is approximately 20-

21% of the market as defined in the Settlement Class and approximately 30-31% of the Litigation

Class. Thus, both the Tyson Settlement and the Cargill Settlement—agreements reached prior to

the Court’s decision on DPPs’ motion to certify the Litigation Class—provide monetary relief in


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the range of approximately $1-2 million per market share point. Clark Decl., ¶ 3.

III.       PRELMINARY APPROVAL OF THE CARGILL SETTLEMENT AGREEMENT.

           A.     Background on the Cargill Settlement Agreement.

           DPPs reached the Settlement Agreement with Cargill after hard fought and arm’s length

negotiations. (See Clark Decl., ¶ 7.) It provides significant monetary relief for the proposed

Settlement Class.2 Cargill has agreed to pay $32,500,000 into an escrow account for the benefit

of the Settlement Class. (See Settlement Agreement ¶ 9.) This represents approximately $1million

per market point share. In addition to monetary relief, Cargill agrees to provide meaningful

cooperation to DPPs, which includes providing DPPs with (a) declarations or affidavits regarding

business record foundation for certain identified documents and (b) live witnesses at trial. (See id.

at ¶ 10.)

           In exchange, DPPs and the proposed Settlement Class agree, among other things, to release

claims against Cargill that were, or could have been, brought in this litigation arising from the

conduct alleged by DPPs in this action. The release does not extend to any other Defendants. (See

id. at ¶ 16.) Consistent with a judgment-sharing agreement among certain Defendants, the Cargill

Settlement Agreement removes an amount reflecting Cargill’s sales of turkey to the DPP Class

from any damages award resulting from a verdict and Final Judgment DPPs obtain against any

other Defendant who is a signatory to the judgment-sharing agreement. (Id. ¶ 12.) Thus, any other

such Defendant against whom DPPs obtain a verdict and judgment would not be jointly and

severally liable for Cargill’s share of damages. This judgment sharing agreement is very similar

to one among Defendants in Broilers. (Clark Decl., ¶ 15; In re Broiler Chicken Antitrust


       2
     Because DPPs’ motion to certify the Litigation Class is pending before the Court, DPPs and
Cargill have agreed on a Settlement Class definition that is identical to the settlement class certified
by the Court for purposes of DPPs’ settlement with the Tyson Defendants. This permits a smoother
claims process administering the two Settlement Classes under a single set of parameters.


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Litigation, Case No. 1:16-cv-08637, ECF No. 4259-1 (N.D. Ill.) (copy of the Direct Purchaser

Plaintiff settlement agreement with Defendant Pilgrim’s Pride in Broilers containing a similar

judgment sharing agreement provision at paragraph 38) (Clark Decl., Ex. C).)

         The Settlement Agreement also contains a reduction mechanism that could result in a

reduction of the settlement amount if the opt-outs exceed agreed-upon thresholds based on sales

attributed to opt-outs from the Tyson Settlement and entities who have filed direct action lawsuits

(“Opt-Out Reduction Threshold”).        See id. at ¶ 11.) The Settlement Agreement contains a

termination provision whereby Cargill, at its sole discretion, may elect to terminate the Settlement

Agreement if the Opt-Out Percentage exceeds the Opt-Out Termination Threshold. (See id. ¶ 22.)

The Opt-Out Reduction Threshold and Opt-Out Termination Threshold values are contained in the

Parties’ Confidential Side Letter. (See id.)3 Similar terms were part of class settlement agreements

approved in Broilers. See, e.g. Clark Decl., Ex. C (settlement agreement with Defendant Pilgrim’s

Pride in Broilers, containing opt-out reduction terms at paragraph 19). DPPs will report on the

number of opt-outs and the final amount recovered for the proposed Settlement Class prior to the

Fairness Hearing. Finally, the Settlement Agreement refers to a judgment-sharing agreement

among certain Defendants and, consistent with that agreement, should DPPs obtain a verdict and

judgment against those Defendants, those Defendants would not be jointly and severally liable for

Cargill’s share of the damages. (See Settlement Agreement ¶ 12.)

         Subject to the approval and direction of the Court, the settlement amount from the Cargill

Settlement (with accrued interest) will be used to: (1) pay for notice costs and costs incurred in the

administration and distribution of the Settlement Agreement; (2) pay taxes and tax-related costs

associated with the escrow account for proceeds from the Settlement Agreement; (3) make a


   3
       This Confidential Side Letter will be provided to the Court for in camera review upon request.


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distribution to Settlement Class members in accordance with a plan to be filed in the future;4 (4)

provide an interim payment of attorneys’ fees, current and ongoing expenses, and service awards.

Fourteen days before the last date to opt out or object to the Cargill Settlement, DPPs will file a

motion for interim payment of attorneys’ fees (33 1/3 of net settlement funds), current and ongoing

expenses (not to exceed $4.5 million), and service award of no more than $50,000 total (and no

more than $25,000 per Class Representative).

       As set forth in the proposed notice documents (see Section V infra) and the Settlement

Agreement, DPPs may withdraw up to $250,000 from the Settlement, without further approval of

the Court, to pay for actual costs of Settlement Class Notice and for Preliminary Approval and

Final Approval of this Settlement Agreement. (See Settlement Agreement ¶ 6(d).) This amount is

non-refundable. (See id., at ¶ 6(e).) DPPs will report on this withdrawal in their petition for an

interim payment of attorneys’ fees, current and ongoing expenses, and service awards.

       B.      Standards Applicable for the Preliminary Approval of the Proposed Cargill
               Settlement.

       There is an overriding public interest in settling litigation, and this is particularly true in

class actions. See Isby v. Bayh, 75 F.3d 1191, 1196 (7th Cir. 1996) (“Federal courts naturally favor

the settlement of class action litigation.”); see also E.E.O.C. v. Hiram Walker & Sons, Inc., 768

F.2d 884, 888-89 (7th Cir. 1985), cert. denied, 478 U.S. 1004 (1986) (noting that there is a general

policy favoring voluntary settlements of class action disputes); Armstrong v. Bd. of Sch. Dirs., 616

F.2d 305, 312 (7th Cir. 1980) (“It is axiomatic that the federal courts look with great favor upon

the voluntary resolution of litigation through settlement.”), overruled on other grounds; Felzen v.

Andreas, 134 F.3d 873 (7th Cir. 1998). Class action settlements minimize the litigation expenses



   4
     DPPs intend to combine any distribution from the Settlement Agreement with distribution of
the proceeds from the Tyson Settlement, and the proposed notice documents reflect this.


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of the parties and reduce the strain such litigation imposes upon already scarce judicial resources.

Armstrong, 616 F.2d at 313 (citing Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977)).

However, a class action may be settled only with court approval. Before the court may give that

approval, all class members must be given notice of the proposed settlement in the manner the

court directs. Fed. R. Civ. P. 23(e).

       “The first step in district court review of a class action settlement is a preliminary,

prenotification hearing to determine whether the proposed settlement is ‘within the range of

possible approval.’” 2 NEWBERG ON CLASS ACTIONS, § 11.24 (3d ed. 1992); see also

Gautreaux v. Pierce, 690 F.2d 616, 621 n.3 (7th Cir. 1982); Armstrong, 616 F.2d at 314; In re

Warfarin Sodium Antitrust Litig., 212 F.R.D. 231, 254 (D. Del. 2002); In re NASDAQ Market-

Makers Antitrust Litig., 176 F.R.D. 99, 102 (S.D.N.Y 1997). Generally, before notice is given to

the class members, the court makes a preliminary evaluation of the proposed class action

settlement. The Manual For Complex Litigation (Fourth) § 21.632 (2004) explains:

               Review of a proposed class action settlement generally involves two
               hearings. First, counsel submit the proposed terms of settlement and
               the judge makes a preliminary fairness evaluation . . . . The Judge
               must make a preliminary determination on the fairness,
               reasonableness and adequacy of the settlement terms and must direct
               the preparation of notice of the . . . proposed settlement, and the date
               of the [formal Rule 23(e)] fairness hearing.

       A proposed settlement falls within the “range of possible approval” when it is conceivable

that the proposed settlement will meet the standards applied for final approval. See Newberg, §

11.25, at 38-39 (quoting Manual for Complex Litig., § 30.41 (3d ed.)). The standard for final

approval of a class action settlement is whether the proposed settlement is fair, reasonable, and

adequate. Fed. R. Civ. P. 23(e)(2); see also Uhl v. Thoroughbred Tech. & Telecomms, Inc., 309

F.3d 978, 986 (7th Cir. 2002); Isby, 75 F.3d at 1198-99. In evaluating the fairness of a proposed

class action settlement, courts typically consider the following factors: (1) the strength of


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plaintiffs’ case compared to the amount of defendants’ settlement offer; (2) an assessment of the

likely complexity, length and expense of the litigation; (3) an evaluation of the amount of

opposition to settlement among affected parties (i.e., the reaction of the class members); (4) the

opinion of competent counsel; and (5) the stage of the proceedings and the amount of discovery

completed at the time of settlement. See Isby, 75 F.3d at 1198-99.

       When granting preliminary approval, the court does not conduct a “definitive proceeding

on the fairness of the proposed settlement,” and the court “must be careful to make clear that the

determination permitting notice to members of the class is not a finding that the settlement is fair,

reasonable and adequate.” In re Mid-Atlantic Toyota Antitrust Litig., 564 F. Supp. 1379, 1384 (D.

Md. 1983) (quoting In re Montgomery Cty. Real Estate Antitrust Litig., 83 F.R.D. 305, 315-16 (D.

Md. 1979)). That determination must await the final hearing when the court can assess the fairness,

reasonableness, and adequacy of the proposed settlement.

       The requirement that class action settlements be fair is designed to protect against collusion

among the parties. In re Mid-Atlantic Toyota Antitrust Litig., 564 F. Supp. at 1383.

       C.      The Court is Likely to Approve the Settlement under Rule 23(e)(2).

       To determine whether to approve a proposed settlement under Federal Rule of Civil

Procedure (“Rule”) 23(e)(2), courts look to the factors in the text of Rule 23(e)(2), which a court

must consider when weighing final approval. See Fed. R. Civ. P. 23(e)(2) (“If the proposal would

bind class members, the court may approve it only after a hearing and only on finding that it is

fair, reasonable, and adequate after considering” the factors set forth in Rule 23(e)(2)); see, e.g.,

In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig., 330 F.R.D. 11, 28

(E.D.N.Y. 2019) (“Payment Card”). Rule 23(e)(2) requires courts to consider whether:

               (A) the class representatives and class counsel have adequately represented the
                     class;
               (B) the proposal was negotiated at arm’s length;


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               (C) the relief provided for the class is adequate, taking into account:
                      (i) the costs, risks, and delay of trial and appeal;
                      (ii) the effectiveness of any proposed method of distributing relief to the
                             class, including the method of processing class-member claims, if
                             required;
                      (iii) the terms of any proposed award of attorney’s fees, including timing of
                             payment; and
                      (iv) any agreement required to be identified under Rule 23(e)(3); and
               (D) the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e)(2). Factors (A) and (B) under Rule 23(e)(2) constitute the “procedural”

analysis factors, and examine “the conduct of the litigation and of the negotiations leading up to

the proposed settlement.” Fed. R. Civ. P. 23 advisory committee’s note to 2018 amendment.

Factors (C) and (D) under Rule 23(e)(2) constitute the “substantive” analysis factors, and examine

“[t]he relief that the settlement is expected to provide to class members....” (Id.)

       Because the proposed settlement meets all factors under Rule 23(e)(2), DPPs respectfully

submit that the Court will likely grant Final Approval of the proposed settlement, and thus the

proposed Settlement Agreement should be preliminarily approved.

               1.      The Class Representatives and Class Counsel have Adequately Represented
                       the Class

       Rule 23(e)(2)(A) requires that “the class representatives and class counsel have adequately

represented the class.” Adequacy is measured by a two-part test: (i) the Class Representatives

cannot have claims in conflict with other class members, and (ii) the Class Representatives and

proposed class counsel must demonstrate their ability to litigate the case vigorously and

competently on behalf of named and absent class members alike. See Kohen v. Pacific Inv. Mgmt.,

Co. LLC, 571 F.3d 672, 679 (7th Cir. 2009).

       Both requirements are satisfied here. The interests of the Settlement Class members are

aligned with those of DPPs’ Class Representatives. Class Representatives, like all Settlement

Class members, share an overriding interest in obtaining the largest possible monetary recovery




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and as fulsome cooperation as possible. See, e.g., In re Community Bank of N. Virginia Mortg.

Lending Practices Litig., 795 F.3d 380, 394 (3d Cir. 2015) (no fundamental intra-class conflict to

prevent class certification where all class members pursuing damages under the same statutes and

the same theories of liability); In re Corrugated Container Antitrust Litig., 643 F.2d 195, 208 (5th

Cir. 1981), cert. denied, 456 U.S. 998 (1982) (certifying settlement class and holding that “so long

as all class members are united in asserting a common right, such as achieving the maximum

possible recovery for the class, the class interests are not antagonistic for representation

purposes”). DPPs’ Class Representatives are not afforded any special compensation by this

proposed Settlement Agreement, and all proposed Settlement Class members similarly share a

common interest in obtaining Cargill’s early and substantial cooperation to prosecute this case.

(See Clark Decl., ¶ 9.)

       Further, DPPs and their counsel will continue to litigate this case vigorously and

competently. As they demonstrated when they sought appointment, Interim Co-Lead counsel are

qualified, experienced, and thoroughly familiar with antitrust class action litigation.5 As they

respectfully submit has been demonstrated, Interim Co-Lead Counsel have diligently represented

the interests of the class in this litigation and will continue to do so. Accordingly, the Class

Representatives and Interim Co-Lead counsel have adequately represented the class.

               2.         The Settlement is Fair and Resulted from Arm’s Length Negotiations

       Rule 23(e)(2)(B) requires that “the proposal was negotiated at arm’s length.” There is

usually an initial presumption that a proposed settlement is fair and reasonable when it was the

result of arm’s length negotiations. See 2 NEWBERG ON CLASS ACTIONS, § 11.40 at 451 (2d ed.


   5
     See ECF No. 133 (Memorandum of Law in Support of Motion to Appoint Hagens Berman
Sobol Shapiro LLP and Lockridge Grindal Nauen P.L.L.P. Interim Co-Lead Counsel for Direct
Purchaser Plaintiffs Pursuant to Federal Rule of Civil Procedure 23(g)); ECF No. 143 (Court’s
Minute Entry of June 16, 2020, appointing same).


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1985); Goldsmith v. Tech. Solutions Co., No. 92-C-4374, 1995 WL 17009594, at *3 n.2 (N.D. Ill.

Oct. 10, 1995) (“[I]t may be presumed that the agreement is fair and adequate where, as here, a

proposed settlement is the product of arm’s-length negotiations.”). Settlements proposed by

experienced counsel and which result from arm’s length negotiations are entitled to deference from

the Court. See, e.g., In re Linerboard Antitrust Litig., 292 F. Supp. 2d 631, 640 (E.D. Pa. 2003)

(“A presumption of correctness is said to attach to a class settlement reached in arms-length

negotiations between experienced, capable counsel after meaningful discovery.”) (quoting

Hanrahan v. Britt, 174 F.R.D. 356, 366 (E.D. Pa. 1997)). The initial presumption in favor of such

settlements reflects courts’ understanding that vigorous negotiations between seasoned counsel

protect against collusion and advance the fairness concerns of Rule 23(e). In making the

determination as to whether the proposed settlement is fair, reasonable, and adequate, the Court

necessarily will evaluate the judgment of the attorneys for the parties regarding the “strength of

plaintiffs’ case compared to the terms of the proposed settlement.” In re AT&T Mobility Wireless

Data Servs. Sales Litig., 270 F.R.D. 330, 346 (N.D. Ill. 2010).

       In this case, the proposed Settlement meets the standards for preliminary approval. The

Settlement Agreement is the product of extensive arm’s-length settlement negotiations, which

included formal mediation with nationally recognized mediator Greg Lindstrom, numerous

follow-ups in the nearly two years since that mediation, and numerous rounds of give-and-take

between Interim Co-Lead Counsel and Cargill’s counsel. (See Clark Decl., ¶ 7.) The hard-fought

negotiations with Cargill necessitated numerous conferences, written exchanges between counsel

during which they negotiated the material terms of the Settlement, and finalizing the Settlement

Agreement. (Id.) In these settlement discussions, counsel for DPPs focused on obtaining the best

possible result for the Settlement Class. (Id. at ¶ 8.) During negotiations, there was no discussion,




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let alone agreement, regarding the amount of attorneys’ fees DPPs’ counsel ultimately may ask

the Court to award in this case. (Id.) Based on DPPs’ extensive factual investigation to date, the

cooperation provisions negotiated as part of the settlement enable DPPs to obtain assistance in

prosecuting their claims against the non-settling Defendants. Therefore, based on both the

monetary relief and cooperation terms of the Settlement Agreement, Interim Co-Lead Counsel

believe this is a fair settlement for the Settlement Class. (Id. at ¶ 12.)

        Conversely, Cargill believes its case is strong and that it would achieve success on the

merits. Cargill denies that it entered into an agreement to reduce or suppress competition in the

market for Turkey with Defendants and their Co-conspirators. Indeed, Cargill maintains that it did

nothing wrong. (See Settlement Agreement ¶ 33.) But in the interests of avoiding the risk and

uncertainty of continued litigation, Cargill has agreed to settle. (See id. Recitals at 3.)

                3.      The Relief Provided for the Class is Substantial and Tangible

        In assessing whether the settlement provides adequate relief for the putative class under

Rule 23(e)(2)(C), the Court should consider: (i) the costs, risks, and delay of trial and appeal;

(ii) the effectiveness of any proposed method of distributing relief to the class, including the

method of processing class-member claims, if required; (iii) the terms of any proposed award of

attorney’s fees, including timing of payment; and (iv) any agreement required to be identified

under Rule 23(e)(3). Fed. R. Civ. P. 23(e)(2)(C)(i–iv).

        “Settlement is favored if settlement results in substantial and tangible present recovery,

without the attendant risk and delay of trial.” See, e.g., Payment Card, 330 F.R.D. at 36 (citations

omitted). Here, for the reasons described above in Section III(C)2, the settlement is fair and

resulted from arm’s-length negotiations. Interim Co-Lead Counsel thoroughly evaluated the

relative strengths and weaknesses of the respective litigation positions and determined that the

Settlement brings substantial benefits to the proposed Class at an early stage in the litigation and


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avoids the delay and uncertainty of continuing protracted litigation with Cargill. (See Clark Decl.,

¶¶ 6-7 and 12.) The benefits of settlement outweigh the costs and risks associated with continued

litigation with Cargill, and weigh in favor of granting final approval.

                4.     The Proposal Treats Class Members Equitably Relative to Each Other

       Consideration under this Rule 23(e)(2) factor “could include whether the apportionment of

relief among class members takes appropriate account of differences among their claims, and

whether the scope of the release may affect class members in different ways that bear on the

apportionment of relief.” Fed. R. Civ. P. 23 advisory committee’s note to 2018 amendment.

       Here, Class Representatives are treated the same as all other Settlement Class members in

this proposed Cargill Settlement, and all Class members similarly share a common interest in

obtaining Cargill’s early and substantial cooperation to prosecute this case. (See Clark Decl., ¶ 9.)

The release applies uniformly to putative Settlement Class members and does not affect the

apportionment of the relief to class members. (See Settlement Agreement ¶¶ 16-17.) Accordingly,

this factor will likely weigh in favor of granting final approval. See, e.g., Payment Card, 330

F.R.D. at 47.

       In sum, the Settlement Agreement: (1) provides substantial benefits to the class; (2) is the

result of extensive good faith negotiations between knowledgeable and skilled counsel; (3) was

entered into after extensive factual investigation and legal analysis; and (4) in the opinion of

experienced Class Counsel, is fair, reasonable, and adequate to the Class. Accordingly, Interim

Co-Lead Counsel believe that the Settlement Agreement is in the best interests of the Class

Members and should be preliminarily approved by the Court.

IV.    THE COURT SHOULD CERTIFY THE PROPOSED SETTLEMENT CLASS.

       In order to preliminarily approve the proposed settlement, the Court must also find that it

will likely be able to certify the class for purposes of judgment on the proposal. Fed. R. Civ. P.


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23(e)(1)(B)(i–ii).

       Under Rule 23, class actions may be certified for settlement purposes only. See, e.g.,

Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997). Certification of a settlement class

must satisfy each requirement set forth in Rule 23(a), as well as at least one of the separate

provisions of Rule 23(b). Id. at 613-14; see also In re Cmty. Bank of N. Va., 418 F.3d 277, 299

(3d Cir. 2005) (“[C]ertification of classes for settlement purposes only [is] consistent with Fed. R.

Civ. P. 23, provided that the district court engages in a Rule 23(a) and (b) inquiry[.]”).

       DPPs seek certification of a Settlement Class consisting of:

               All persons and entities who directly purchased Turkey from any
               Defendant or alleged co-conspirator in the United States at any time
               during the Settlement Class Period. Specifically excluded from the
               Settlement Class are Defendants and any alleged co-conspirators
               identified in the Action; the officers, directors or employees of any
               Defendant or alleged co-conspirator; any entity in which any
               Defendant or alleged co-conspirator has a controlling interest; and
               any affiliate, legal representative, heir or assign of any Defendant or
               alleged co-conspirator. Also excluded from the Settlement Class are
               any federal, state or local governmental entities, any judicial officer
               presiding over the Action and the members of his/her immediate
               family and judicial staff, and any juror assigned to the Action.

(Settlement Agreement ¶ 5). The Settlement Class Period is from January 1, 2010, through January

1, 2017. Id. at ¶ 1(t). The Settlement Class and Settlement Class Period are the same as those

granted final approval by the Court for purposes of DPPs’ settlement with the Tyson Defendants.

(See Amended Order and Final Judgment (ECF No. 406) ¶ 4.) As detailed below, this proposed

Settlement Class meets the requirements of Rule 23(a) as well as the requirements of Rule 23(b)(3).

       A.      The Requirements of Rule 23(a) are Satisfied

               1.      Numerosity

       Rule 23(a)(1) requires that the class be so numerous as to make joinder of its members

“impracticable.” No magic number satisfies the numerosity requirement; however, “a class of




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more than 40 members is generally believed to be sufficiently numerous for Rule 23 purposes.”

Schmidt v. Smith & Wollensky, LLC, 268 F.R.D. 323, 326 (N.D. Ill. 2010) (citations omitted). The

proposed Settlement Class consists of persons and entities that purchased Turkey from the

Defendants or their Co-conspirators during the period from January 1, 2010, through January 1,

2017. Based on their extensive knowledge of this case and the experience gained from the Tyson

Settlement, Interim Co-Lead Counsel believe that, due to the nature of the trade and commerce of

the Turkey market, there are thousands of proposed Settlement Class members geographically

dispersed throughout the United States. Thus, joinder would be impracticable, and Rule 23 (a)(1)

is satisfied.

                2.     Common Questions of Law and Fact

        Rule 23(a)(2) requires that there be “questions of law or fact common to the class.”

Plaintiffs must show that resolution of an issue of fact or law “is central to the validity of each”

class member’s claim and “[e]ven a single [common] question will” satisfy the commonality

requirement. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359 (2011).

        A central allegation in the Third Amended Class Action Complaint (ECF Nos. 665, 713)

(“Complaint” or “Compl.”) is whether Defendants and their Co-conspirators entered into an illegal

price-fixing agreement, including an information exchange agreement that reduced or suppressed

competition in the market for Turkey. See Compl. ¶¶ 3-50. Proof of this will be common to all

Class members. See, e.g., Thillens, Inc. v. Cmty. Currency Exch. Ass’n, 97 F.R.D. 668, 677 (N.D.

Ill. 1983) (“The overriding common issue of law is to determine the existence of a conspiracy.”).

In addition to that overarching question, this case is replete with other questions of law and fact

common to the proposed Settlement Class including: (1) the identities of the participants in the

alleged agreement; (2) the duration of the alleged agreement and the acts performed by Defendants

and Co-conspirators in furtherance of the agreement; (3) whether the conduct of Defendants and


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their Co-conspirators, as alleged in the Complaint, caused injury to the business or property of

DPPs and other class members; (4) the effect of the alleged conspiracy on the prices of Turkey

sold in the United Stated during the Class Period; and (5) the appropriate class-wide measure of

damages. Accordingly, the Settlement Class satisfies Rule 23(a)(2).

               3.     Typicality

       Rule 23(a)(3) requires that the class representatives’ claims be “typical” of class members’

claims. “[T]ypicality is closely related to commonality and should be liberally construed.”

Saltzman v. Pella Corp., 257 F.R.D. 471, 479 (N.D. Ill. 2009) (citations omitted). Typicality is a

“low hurdle,” requiring “neither complete coextensivity nor even substantial identity of claims.”

Owner-Operator Indep. Drivers’ Ass’n v. Allied Van Lines, Inc., 231 F.R.D. 280, 282 (N.D. Ill.

2005). When the “[representative party’s] claim is typical if it arises from the same event or

practice or course of conduct that gives rise to the claims of other class members and [all] claims

are based on the same legal theory,” factual differences among class members do not defeat

typicality. Id. Courts generally find typicality in cases alleging a price-fixing conspiracy. See,

e.g., In re Mercedes-Benz Antitrust Litig., 213 F.R.D. 180, 185 (D.N.J. 2003) (finding that

plaintiffs met the typicality requirement based on the fact that plaintiffs’ main claim - that they

were harmed by an illegal price-fixing conspiracy - was the same for all class members).

        Here, DPPs allege that Defendants and their Co-conspirators conspired to fix, maintain,

and inflate the price of Turkey in the United States by exchanging competitively sensitive

information. See Compl. ¶¶ 564-592. The DPP named Class Representatives will have to prove

the same elements that absent Settlement Class members would have to prove, i.e., the existence

and effect of the alleged conspiracy. Because the named Class Representatives’ claims arise out

of the same alleged illegal anticompetitive conduct and are based on the same alleged theories and

will require the same types of evidence to prove those theories, the typicality requirement of Rule


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23(a)(3) is satisfied.

                 4.      Adequacy

        For the reasons mentioned above in Section III(C)(1), the DPP named Class

Representatives and Interim Co-Lead Counsel have adequately represented the class.

        B.       The Proposed Settlement Class Satisfies Rule 23(b)(3).

        Once Rule 23(a)’s four prerequisites are met, Plaintiffs must show the proposed Settlement

Class satisfies Rule 23(b)(3). The proposed Settlement Class satisfies Rule 23(b)(3) by showing

that “questions of law or fact common to class members predominate over any questions affecting

only individual members, and that a class action is superior to other available methods for fairly

and efficiently adjudicating the controversy.” As to predominance, “[c]onsiderable overlap exists

between the court’s determination of commonality and a finding of predominance. A finding of

commonality will likely satisfy a finding of predominance because, like commonality,

predominance is found where there exists a common nucleus of operative facts.” Saltzman, 257

F.R.D. at 484.

        In antitrust conspiracy cases such as this one, courts consistently find that common issues

of the existence and scope of the conspiracy predominate over individual issues. Hughes v. Baird

& Warner, Inc., No. 76 C 3929, 1980 WL 1894, at *3 (N.D. Ill. Aug. 20, 1980) (“Clearly, the

existence of a conspiracy is the common issue in this case. That issue predominates over issues

affecting only individual sellers.”); see also Amchem Prods., Inc., 521 U.S. at 625 (“Predominance

is a test readily met in certain cases alleging consumer or securities fraud or violations of the

antitrust laws.”).

        Plaintiffs must also show that a class action is superior to individual actions, which is

evaluated by four considerations:

                 (A) the class members’ interests in individually controlling the


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                 prosecution or defense of separate actions; (B) the extent and nature
                 of any litigation concerning the controversy already begun by or
                 against class members; (C) the desirability or undesirability of
                 concentrating the litigation of the claims in the particular forum; (D)
                 the likely difficulties in managing a class action.

Fed. R. Civ. P. 23(b)(3).

          Here, any Settlement Class member’s hypothetical interest in individually controlling the

prosecution of separate claims is outweighed by the efficiency of the class mechanism. Because

thousands of Settlement Class members purchased Turkey during the Class Period, settling these

claims in the context of a class action conserves both judicial and private resources and hastens

Settlement Class members’ recovery. Finally, while DPPs see no management difficulties in this

case, this final consideration is not pertinent to approving a settlement class. See Amchem Prods.,

Inc., 521 U.S. at 620 (“Confronted with a request for settlement-only class certification, a district

court need not inquire whether the case, if tried, would present intractable management problems

. . . for the proposal is that there be no trial.”). Accordingly, the proposed class action is superior

to other available methods (if any) for the fair and efficient adjudication of DPPs’ claims relating

to Cargill.

V.        THE COURT SHOULD APPROVE THE PROPOSED NOTICE TO THE CLASS
          OF THE CARGILL SETTLEMENT AGREEMENT, DISTRIBUTION OF THE
          TYSON AND CARGILL SETTLEMENT FUNDS, AND CLAIMS PROCESS.

          A.     Rule 23(e) Provides that Notice Must Be Given in a Reasonable Manner to All
                 Class Members.

          Rule 23(e) requires that prior to final approval, notice of a proposed settlement be given in

a reasonable manner to all class members who would be bound by such a settlement. For a class

proposed under Rule 23(b)(3), whether litigated or by virtue of a settlement, Rule 23(c)(2)(B)

states:

                 The notice must clearly and concisely state in plain, easily
                 understood language: (i) the nature of the action; (ii) the definition



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               of the class certified; (iii) the class claims, issues, or defenses; (iv)
               that a class member may enter an appearance through an attorney if
               the member so desires; (v) that the court will exclude from the class
               any member who requests exclusion; (vi) the time and manner for
               requesting exclusion; and (vii) the binding effect of a class judgment
               on members under Rule 23(c)(3).

The form of notice is “adequate if it may be understood by the average class member.” 4 NEWBERG

ON CLASS ACTIONS § 11.53 (4th ed. 2002).

       Rule 23 requires that notice to class members must be “the best notice practicable under

the circumstances, including individual notice to all members who can be identified through

reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B); see also Amchem Prods., Inc. v. Windsor, 521 U.S.

591, 617 (1997); Hughes v. Kore of Indiana Enterprise, Inc., 731 F.3d 672, 676 (7th Cir. 2013);

Hossfeld v. Lifewatch, Inc., No. 13 C 9305, 2021 WL 1422779, at *1 (N.D. Ill. March 4, 2021);

City of Greenville v. Syngenta Crop. Prot., No. 3:10-CV-188, 2012 WL 1948153, at *4 (S.D. Ill.

May 30, 2012). Individual notice should be sent to members who can be identified through

reasonable effort. Such notice may be by United States mail, electronic means, or other appropriate

means. Fed. R. Civ. P. 23(c)(2)(B). Other members may be notified by publication. City of

Greenville, 2012 WL 1948153 at *4.

       B.      The Proposed Notice of the Cargill Settlement Agreement is Adequate.

       Here, DPPs’ proposed notice plan comports with due process and Rule 23. As to the Cargill

Settlement, it is the same as the notice plan granted final approval by this Court in the Tyson

Settlement. (See Amended Order and Final Judgment (ECF No. 406) ¶ 10.) The class notice

documents, consisting of the long form, email, and publication notice, comply with the

requirements of Rule 23(c)(2)(B). (See Class Notice Documents, attached to the Declaration of

Eric Schachter (“Schachter Decl.”) as Exhibits B through D.) The notice documents define the

Settlement Class, describe the nature of the action, summarize the Class’s claims, provide direct




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purchasers of Turkey notice of the Cargill Settlement Agreement, and will provide the date, time,

and place for the Fairness Hearing:

       DPPs have retained A.B. Data Ltd., an experienced national class action notice provider

and claims administrator and Court-appointed administrator of the Tyson Settlement, to administer

the Cargill Settlement Notice Plan. (See Clark Decl., ¶ 13; see also Schachter Decl., ¶¶ 1-5, Ex.

A.) In the Tyson Settlement, A.B. Data identified a list of 2,776 direct purchasers of Turkey from

sales data produced by each Defendant (“proposed Settlement Class members”).6 Here, A.B. Data

will mail the long form notice to these same proposed Settlement Class members via first-class

U.S. mail. (See Schacter Decl., ¶¶ 6-7, Ex. B.) A.B. Data will also send the email notice to

Settlement Class members. (See id. ¶¶ 7- 8, Ex. C.) The email notice will provide Settlement Class

members with an electronic link to the settlement website where they can obtain more information

including the long form notice and Settlement Agreement. (Id.) A.B. Data had designed this direct

mail and email notice plan to reach potential class members of settlement classes that are national

in scope and narrowly defined entities and demographic targets. (See Schachter Decl., ¶ 14.)

       Further, A.B. Data will supplement the direct mail and email notice through (1) publication

of summary notice in industry-related mailed and digital media and (2) posting of notice on the

existing case website, https://www.turkeylitigation.com. (See Schachter Decl., ¶¶ 6-13, Ex. D.)

A.B. Data will also host a toll-free number for frequently asked questions and requests for mailing

of further information. (See Schachter Decl., ¶¶ 10-12.) The website and call center will be

available in both English and Spanish. (Id.)

       Notice plans like the present one, which rely on direct notice to class members,




   6
     See Declaration of Eric Schachter in Support of Motion for Final Approval of the Class Action
Settlement between Direct Purchaser Plaintiffs and the Tyson Defendants (ECF No. 352) ¶ 3.


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supplemented by publication or other similar means of notice, are commonly used in class actions

like this one. See Amchem Prods., 521 U.S. at 617; City of Greenville, 2012 WL 1948153, at *4;

see also Clark Decl., ¶ 11, Ex. B (In re Broiler Chicken Antitrust Litig., 1:16-cv-08637, ECF No.

3394 (N.D. Ill. Jan. 8, 2020) (Order Granting DPPs’ Motion for Preliminary Approval of

Settlements with three defendants)). Further, this type of notice plan has been successfully

implemented in this case for DPPs’ settlement with the Tyson Defendants. (See Amended Order

and Final Judgment (ECF No. 406).)

       This multifaceted, comprehensive notice plan for the Cargill Settlement Agreement

provides the best notice practicable under the circumstances of this case and fully satisfies Rule

23 and due process requirements.

       C.      The Notice Plan for the Proposed Claims Process and Interim Co-Lead
               Counsel’s Request for Payment of Interim Attorneys’ Fees, Current and
               Ongoing Expenses, and Service Awards is Adequate and Should be Approved
               by the Court.

       Within the same Notice to the Settlement Class described above, DPPs also intend to notify

the class members of a claims process in order to distribute settlement proceeds achieved to date.

DPPs in this antitrust class action have reached settlements with Cargill and Tyson totaling

$37,125,000. DPPs respectfully move the Court to approve a notice plan advising the Settlement

Class of the claims process for distribution of the Tyson and Cargill7 settlement proceeds. The

proposed claims process is substantially the same as the one approved for the DPP class in In re

Broiler Chicken Antitrust Litigation, Case No. 1:16-cv-08637, ECF No. 4341 (N.D. Ill. Feb. 25,

2021) (Clark Decl., Ex. D) and in In re Pork Antitrust Litigation, Case No. 18-cv-01776, ECF No.




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      This Notice Plan assumes final approval of the Cargill Settlement. After such final approval
is granted and the claims administrator concludes the claims process, DPPs will submit a Motion
for Approval of a Plan of Distribution before funds are dispersed to Settlement Class members.


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1208 (D. Minn., Mar. 7, 2022) (Clark Decl., Ex. E) and is intended to streamline the settlement

claims process by sending pre-populated claim forms reflecting reasonably available Turkey

purchase data for each Settlement Class member.

       With respect to the proposed claims process and distribution, the class notice documents,

consisting of the long form, email, and publication notice, as well as a claim form and a purchase

audit request form, comply with the requirements of Rule23(c)(2)(B). (See Class Notice

Documents, Schachter Decl., Exs. B through F). The Notice Plan provides information regarding:

              The claims process, and informs the Settlement Class members that DPPs will
               move the Court to approve a plan to distribute net settlement proceeds to qualified
               class members on a pro rata basis based on the total dollar amount of claims
               submitted by Settlement Class members (Schachter Decl., Ex. B at ¶¶ 9-14);
              A pre-printed claim form with the purchase amounts for each Settlement Class
               member and a purchase audit request form if a Settlement Class member wishes to
               supplement or challenge the pre-printed purchase data. (Id. at ¶ 12);
              Interim Co-Lead Counsel’s first request for interim payment of attorney’s fees not
               to exceed 33 1/3% of the proceeds from the Tyson and Cargill settlements, net of
               expenses; (Id. at ¶ 10);
              Interim Co-Lead Counsel’s second request for reimbursement of current and
               ongoing expenses (not to exceed $4.5 million);8 (Id. at ¶ 10);
              Interim Co-Lead Counsel’s first request for named Class Representative service
               awards of up to a total of $50,000 (not to exceed $25,000 per Class Representative);
               (Id. at ¶ 10);
              Payment of up to $250,000 to pay the costs for notice and for Preliminary Approval,
               Final Approval, and administration of the claims process for this Settlement
               Agreement; (Id. at ¶ 10);
              The date, time, and place for the Fairness Hearing, the date by which Interim Co-
               Lead Counsel will move for an interim payment of attorneys’ fees, current and
               ongoing expenses, and service awards (and where to find that information on the
               settlement administrator’s website), and the fact that Settlement Class members do
               not need to enter an appearance through counsel but may do so if they choose. (Id.


   8
      On January 10, 2022, the Court ordered reimbursement of $1 million for incurred and on-
going litigation expenses from the Tyson Settlement. (See ECF No. 367.) In connection with their
forthcoming motion for current and ongoing expenses, DPPs will provide a detailed accounting of
the use of those funds.


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               at ¶¶ 26-28).9
       Under the claims process proposed by DPPs and the Claims Administrator, Settlement

Class members will be sent individualized pre-printed claim forms that will include calculated

amounts for their Turkey purchases from each of the Defendants, based on data produced by the

Defendants. (See Schachter Decl., ¶ 7). Settlement Class members will have the opportunity to

submit their claim forms via mail, email, or using the settlement website. If a Settlement Class

member wishes to challenge or supplement the purchase amounts reflected on the pre-populated

claim form, they can complete the audit request form and submit additional information to the

Claims Administrator. Anyone who did not receive a pre-populated claim form and believes they

are a Settlement Class member may do so as well.

       This proposed claims process is substantially similar to what was implemented by the

Courts in the Broiler Chicken and Pork cases, and ensures that Class members will be able to file

their claims using a straight forward and equitable process. (See Schachter Decl., ¶¶ 7; see also In

re Broiler Chicken Antitrust Litig., No. 1:16-cv-08637, ECF No. 4341 (N.D. Ill. Feb. 25, 2021);

In re Pork Antitrust Litigation, No. 18-cv-01776, ECF No. 1208 (D. Minn. Mar. 7, 2022). The

Class member purchase data covers the entire Settlement Class period (January 1, 2010 through

January 1, 2017). As such, the pre-populated claim forms have been generated based on data from

that same period.

       Interim Co-Lead Class Counsel requests that the Court approve the proposed form and

manner of notice as set forth herein.




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      Once all of the claims have been reviewed and approved by the Claims Administrator, and
any issues have been resolved with respect thereto, DPPs will file a motion for the Court to approve
a plan of distribution and to approve payment of the Net Settlement Fund to the qualified claimants.


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VI.      APPOINTMENT OF AN CLAIMS ADMINISTRATOR AND ESCROW AGENT
         TO MAINTAIN SETTLEMENT FUNDS.

         In connection with preliminary approval of the Cargill Settlement Agreement, the court

must (1) appoint a claims administrator and (2) appoint an escrow agent to maintain settlement

funds.


         A.     A.B. Data is an Experienced Class Action Notice Provider and Claims
                Administrator that Should be Appointed by the Court to Administer the
                Cargill Settlement and Conduct the Claims Process for the Cargill and Tyson
                Settlements.

         DPPs have retained A.B. Data Ltd., an experienced national class action notice provider

and claims administrator and Court-appointed claims administrator of the Tyson Settlement, to be

the claims administrator to conduct the claims process for the Settlement Agreement. (See Clark

Decl., ¶ 13; see also Schachter Decl., ¶¶ 1-5, Ex. A.) DPPs request A.B. Data Ltd.’s appointment

as Claims Administrator for the Cargill Settlement.

         B.     The Huntington National Bank Should be Appointed Escrow Agent for the
                Cargill Settlement.

         DPPs propose that The Huntington National Bank be appointed by the Court to serve as

the escrow agent, maintain the Qualified Settlement Fund as called for the Cargill Settlement

Agreement (see Settlement Agreement ¶ 13), and provide escrow services in this litigation. The

Huntington Bank is the Court-appointed escrow agent for the Tyson Settlement. (See Order

Preliminarily Approving DPPs’ Settlement with Tyson (ECF No. 265).) Interim Co-Lead Counsel

selected the Huntington National Bank after a competitive bidding process in connection with the

Tyson Settlement, and it is most efficient and cost-effective for the Settlement Class to have

Huntington Bank continue that role for the Cargill Settlement. (See Clark Decl., ¶ 14.) Huntington

Bank’s qualifications are attached in the Declaration of Robyn Griffin as Exhibit A. The

Huntington National Bank’s diversity and inclusion statement is attached to the Declaration as



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Exhibit B. DPPs request appointment of Huntington National Bank as escrow agent for the Cargill

Settlement.

VII.   THE COURT SHOULD SCHEDULE A FAIRNESS HEARING.

       The last step in the settlement approval process is the Fairness Hearing, at which the Court

may hear all evidence necessary to evaluate the proposed Cargill Settlement. At that hearing,

proponents of the Settlement Agreement may explain and describe their terms and conditions and

offer argument in support of the Cargill Settlement’s approval, and members of the Settlement

Class or their counsel may be heard regarding the proposed Settlement Agreement, if they choose.

DPPs propose the following schedule of events necessary for disseminating notice to the

Settlement Class and the Fairness Hearing:

                DATE                                             EVENT
10 days after the filing of this Motion Defendant Cargill shall file via ECF confirmation of its
for Preliminary Approval                provision of notice to government regulators pursuant to
                                        the Class Action Fairness Act, 28 U.S.C. § 1715(d)
21 days after the entry of the          Settlement Administrator to provide direct mail and
Preliminary Approval Order              email notice, and commence implementation of
                                        publication notice plan
14 days before the last day for     Interim Co-Lead Counsel to file petition seeking an
Settlement Class Members to request interim payment of attorneys’ fees, current and ongoing
exclusion from the Settlement Class expenses, and named representative service awards
60 days after the commencement of       Last day for Settlement Class Members to: (1) request
the Notice                              exclusion from the Settlement Class; (2) file claim or
                                        audit request forms, (3) file objections to the Settlement,
                                        (4) file objections to the motion for an interim payment
                                        of attorneys’ fees, current and ongoing expenses, and
                                        service awards; or (5) file notices to appear at the
                                        Fairness Hearing
7 days after last day to request        Interim Co-Lead Counsel to provide Cargill with a list
exclusion from Settlement               of all persons and entities who have timely and validly
                                        requested exclusion from the Settlement Class
14 days before the Fairness Hearing     Interim Co-Lead Counsel shall file a motion for Final
                                        Approval of the Settlement and all supporting papers,
                                        update the Court regarding the status of the claims



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                DATE                                               EVENT
                                         process, and disclose any reduction in the Settlement
                                         Sum based on the Opt-Out Percentage, and Interim Co-
                                         Lead Counsel and Cargill may respond to any
                                         objections to the proposed Settlement

                                         Interim Co-Lead Counsel shall file an update with the
                                         Court regarding any objections to the request for an
                                         interim payment of attorneys’ fees, current and ongoing
                                         expenses, and service awards.
40 days after the last day to request    Hearing regarding (1) Final Approval of the
exclusion from the Settlement, or as     Settlement,10 (2) motion for an interim payment of
soon thereafter as may be heard by       attorneys’ fees, current and ongoing expenses, and
the Court                                service awards, and (3) status of claims process.

VIII. CONCLUSION.

        For these reasons, Interim Co-Lead Counsel respectfully request that the Court

preliminarily approve the Cargill Settlement Agreement, certify the proposed Settlement Class,

appoint Interim Co-Lead Counsel as co-lead counsel for the Settlement Class; approve the

proposed claims process, and approve the plan of notice to the Settlement Class regarding the

settlement and claims process, and grant the other relief requested by DPPs.




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      Under the Class Action Fairness Act, 28 U.S.C. § 1715 (“CAFA”), the Court may not issue
an order giving final approval of a proposed settlement earlier than 90 days after the later of the
dates on which the appropriate Federal official and the appropriate State official are served with
notice of these proposed Settlements. Id. at § 1715(d). Under the Settlement Agreement, within
ten days of the filing of this motion, Cargill will serve upon the appropriate state officials and the
appropriate federal official the CAFA notice required by Section 1715(b). This schedule will allow
the Court to schedule a Fairness Hearing as DPPs propose in the schedule above, in conformance
with CAFA’s requirements.


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